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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


DANIELLE VICTOR,                      )
          Plaintiff,                  )
                                      )             Civil Action
           v.                         )             No. 22-11348-PBS
                                      )
JUDGE YOLANDA OROZCO, et al.,         )
          Defendants.                 )

                                  ORDER

                              June 10, 2024

SARIS, D.J.

      Pro se plaintiff Danielle Victor of Methuen, Massachusetts,

initiated this action in 2022 by filing several motions with her

complaint against 11 California defendants and a Delaware

corporation.    Dkt. Nos. 1-4.    On September 19, 2022, Victor was

granted leave to proceed in forma pauperis and her motions for

appointment of counsel and for entry of a temporary restraining

order were denied.    Dkt. Nos. 6, 7.     At that time, Victor was

advised that is she wished to proceed in this matter, she must

file an amended complaint that demonstrates this Court’s

jurisdiction.   Dkt. No. 7.

      Victor’s subsequent motions were denied.        See Docket.      On

November 22, 2022, Victor filed a notice of appeal.          Dkt. No.

22.   On December 1, 2022, Victor’s motion to stay was allowed.

Dkt. No. 23.    On December 22, 2022, this case was

administratively stayed pending resolution of the appeal to the
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United States Court of Appeals for the First Circuit.          Dkt. No.

27.

      On March 11, 2024, the First Circuit dismissed Victor’s

appeal.    Dkt. No. 28.   Mandate issued on May 16, 2024.        Dkt. No.

29.

      Based upon the foregoing, it is it is hereby ORDERED that

      1.    The clerk shall lift the administrative stay; and

      2.    If Plaintiff wishes to proceed in this matter, and for

the reasons stated in the Court’s September 19, 2022 Memorandum

and Order (Dkt. No. 7), she must file an amended complaint that

demonstrates this Court’s jurisdiction.        Failure to comply with

this directive on or before Tuesday, July 2, 2024, will result

in dismissal of this action.

SO ORDERED.



                                  /s/ Patti B. Saris
                                  PATTI B. SARIS
                                  UNITED STATES DISTRICT JUDGE




                                     2
